             Case 2:13-cr-00326-MCE Document 38 Filed 09/05/14 Page 1 of 3


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5                          IN THE UNITED STATES DISTRICT COURT

6                         FOR THE EASTERN DISTRICT OF CALIFORNIA

7
                                                ) Case No.: 2:13-cr-00326-MCE
8    United States of America,                  )
                                                ) AMENDED STIPULATION REGARDING EXCLUDABLE
9                 Plaintiff,                    ) TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                ) FINDINGS AND ORDER
10         vs.                                  )
                                                ) Court: Hon. Morrison C. England
11                                              ) Time:     9:00 a.m.
     Robert Vargas, et.al.                      ) Date:     November 6, 2014
12                                              )
                  Defendants.
13

14
                                           STIPULATION
15

16         Plaintiff United States of America, by and through its counsel of record, and

17   defendants, by and through their counsel of record, hereby stipulate as follows:

18         1.     By previous order, this matter was set for status on September 4, 2014.

     Both defendants were arraigned on a superceding indictment alleging higher drug
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     quantities and adding a 924(c) count – use of a firearm during a drug trafficking
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     offense and a 922(g) count – felon in possession of a firearm as to defendant Vargas.
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           2.     By this stipulation, defendants now move to continue the status
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     conference until November 6, 2014 and that date is available with the Court.   The
23
     parties stipulate to exclude time between September 4, 2014 and November 6, 2014 under
24   Local Code T4.   Plaintiff does not oppose this request.

25         3.     The parties agree and stipulate, and request that the Court find the

26   following:

27         a.     The government has provided discovery including investigative reports and

     related documents in electronic form, audio and videotapes and local law enforcement
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                                               -1-
             Case 2:13-cr-00326-MCE Document 38 Filed 09/05/14 Page 2 of 3


     and other witnesses and photographs.
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           b.     Counsel for defendants require additional time to continue their
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     investigation into allegations related to the newly charged gun counts.
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           c.     Counsel for defendants believe that failure to grant the above-requested
4    continuance would deny them the reasonable time necessary for effective preparation,

5    taking into account the exercise of due diligence.

6          d.     The government does not object to the continuance.

7          e.     Based on the above-stated findings, the ends of justice served by

     continuing the case as requested outweigh the interest of the public and the
8
     defendants in a trial within the original date prescribed by the Speedy Trial Act.
9
           f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
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     3161, et seq., within which trial must commence, the time period of September 4, 2014
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     to November 6, 2014 inclusive, is deemed excludable pursuant to 18 U.S.C.§
12   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

13   the Court at defendant’s request on the basis of the Court's finding that the ends of

14   justice served by taking such action outweigh the best interest of the public and the

15   defendants in a speedy trial.

           4.     Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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     from the period within which a trial must commence.
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     IT IS SO STIPULATED.
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               Case 2:13-cr-00326-MCE Document 38 Filed 09/05/14 Page 3 of 3


     Dated: September 2, 2014               Respectfully submitted,
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2
                                            __/s/ Shari Rusk___
3                                           Shari Rusk
                                            Attorney for Defendant
4                                           Robert Vargas

5
                                            /s/ Dan Koukal_________
6                                           Dan Koukal
                                            Attorney for Defendant
7                                           Robert Guerena

8                                           /s/ Olusere Olowoyeye
                                            Olusere Olowoyeye
9                                           Assistant United States Attorney

10

11                                  ORDER

12            IT IS SO ORDERED.

13   Dated:     September 4, 2014

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